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                                                                                                 #:94



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                                                            10 Classes
                                                                                    UNITED STATES DISTRICT COURT
                       15165 VENTURA BOULEVARD, SUITE 400




                                                            11
                         SHERMAN OAKS, CALIFORNIA 91403




                                                                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
PEARSON WARSHAW, LLP




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                                                            14 KEAVENY DRUG, INC., individually             CASE NO. 2:24-cv-09379-SPG-SK
                                                               and on behalf of a class of those
                                                            15 similarly situated,                          PROOF OF SERVICE OF
                                                            16                                              SUMMONS AND COMPLAINT
                                                                             Plaintiff,
                                                            17
                                                            18        v.
                                                            19 GOODRX, INC.; GOODRX
                                                            20 HOLDINGS, INC.; CVS CAREMARK
                                                               CORP.; EXPRESS SCRIPTS, INC.;
                                                            21 MEDIMPACT HEALTHCARE
                                                            22 SYSTEMS, INC.; and NAVITUS
                                                               HEALTH SOLUTIONS, LLC,
                                                            23
                                                            24              Defendants.
                                                            25
                                                            26
                                                            27
                                                            28

                                                                                    PROOF OF SERVICE OF SUMMONS AND COMPLAINT
            Case 2:24-cv-09379-SPG-SK                       Document 14                Filed 11/12/24        Page 2 of 4 Page ID
                                                                   #:95
    ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                            FOR COURT USE ONLY
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    ATTORNEY FOR (Name): Plaintiff and the Proposed Clases

                                UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    PLAINTIFF/PETITIONER: KEAVENY DRUG, INC., individually and on behalf of a class of                           CASE No.:
                                   those similarly situated                                                       2:24-cv-09379-SPG-SK
       DEFENDANT/RESPONDENT: GOODRX, INC.; et al.
                                                                                                                 Ref. No. or File No.:
                                     PROOF OF SERVICE OF SUMMONS                                                       PEASI-0187031.GE
                                           (Separate proof of service is required for each party served.)
  1.    At the time of service, I was at least 18 years of age and not a party to this action.
  2.    I served copies of:
        a. [X] Summons in a Civil Action                                                       e. [ ] First amended complaint
        b. [X] Class Action Complaint - Jury Trial Demanded                                     f. [ ] Second amended complaint
        c. [X] Civil Cover Sheet                                                               g. [ ] Third amended complaint
        d. [X] Other (specify documents): SEE ATTACHED LIST OF DOCUMENTS



  3.    a. Party served (specify name of party as shown on documents served):
             MEDIMPACT HEALTHCARE SYSTEM, INC.
        b. [X] Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
               item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
                 CT CORPORATION SYSTEM, AGENTS FOR SERVICE By leaving with JACQUELINE MEJIA,
                 AUTHORIZED TO ACCEPT
  4.    Address where the party was served: 330 N. BRAND BLVD., SUITE 700, GLENDALE, CA 91203
  5.    I served the party (check proper box)
        a. [X] By Personal Service. I personally delivered the documents listed in item 2 to the party or person authorized to
               receive service of process for the party (1) on (date): 11/05/2024                       (2) at (time): 11:00 AM
        b. [ ] By Substituted Service. On (date):                             at (time):                   I left the documents listed in item
               with or in the presence of (name and title or relationship to person indicated in item 3a): 2

                       (1) [ ] (Business) a person at least 18 years of age apparently in charge at the office or usual place of business of
                               the person to be served. I informed him or her of the general nature of the papers.
                       (2) [ ] (Home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                 place of abode of the party. I informed him or her of the general nature of the papers.
                       (3) [ ] (Physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                               address of the person to be served, other than a United States Postal Service post office box. I informed
                               him or her of the general nature of the papers.
                       (4) [ ] I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at
                               the place where the copies were left (Code Civ. Proc., § 415.20). I mailed the documents on
                                   (date):              from (city):                           or [ ] A Declaration of Mailing is attached.
                       (5) [ ] I attach a declaration of diligence stating actions taken first to attempt personal service.




POS-010 [Rev. January 1, 2007]                        PROOF OF SERVICE OF SUMMONS
                                                                                                                                 American LegalNet, Inc.
                                                                                                                                 www.FormsWorkflow.com
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      PLAINTIFF/PETITIONER: KEAVENY DRUG, INC., individually and on behalf of a class of                CASE NUMBER:

                                   those similarly situated                                                   2:24-cv-09379-SPG-SK
      DEFENDANT/RESPONDENT: GOODRX, INC.; et al.


 5.     c. [ ] by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
               shown in item 4, by first-class mail, postage prepaid,
                      (1) on (date):                                            (2) from (city):
                      (3) [ ] with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to
                              me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                      (4) [ ] to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)


        d. [ ] By other means (specify means of service and authorizing code section):


        e. [ ] Additional page describing service is attached.

 6. The "Notice to the Person Served" (on the summons) was completed as follows:
     a. [ ] as an individual defendant.
         b. [ ] as the person sued under the fictitious name of (specify):
         c. [ ] as occupant.
         d. [ ] On behalf of (specify):
                Under the following Code of Civil Procedure section:
                           [ ] 416.10 (corporation)                                 [ ] 415.95 (business organization, form unknown)
                                 [ ] 416.20 (defunct corporation)                   [ ] 416.60 (minor)
                                 [ ] 416.30 (joint stock company/association)       [ ] 416.70 (ward or conservatee)
                                 [ ] 416.40 (association or partnership)            [ ] 416.90 (authorized person)
                                 [ ] 416.50 (public entity)                         [ ] 415.46 (occupant)
                                                                                    [ ] Other
 7.     Person who served papers
        a. Name: AUGUST KUND
        b. Address: P.O. Box 861057, Los Angeles, CA 90086
        c. Telephone number: (213) 975-9850
        d. The fee for service was: $ 135.58
        e. I am:
              (1) [ ] Not a Registered California process server.
              (2) [ ] Exempt from registration under Business and Professions Code section 22350(b).
              (3) [X] a Registered California process server:
                         (i) [ ] Owner       [X] Employee       [ ] Independent contractor.
                         (ii) Registration No.: 2017038478
                         (iii) County: LOS ANGELES

  8.    [X]      I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
                 or
  9.    [ ]      I am a California sheriff or marshal and I certify that the foregoing is true and correct.



 Date: November 08, 2024




                             AUGUST KUND                                        
           (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                            (SIGNATURE)




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